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                                                                         1


 1                 IN THE UNITED STATES DISTRICT COURT

 2                      FOR THE DISTRICT OF MONTANA

 3

 4     BNSF RAILWAY COMPANY, on           )
       behalf of THE UNITED STATES        )
 5     OF AMERICA,                        )      Civil Action
                                          )   No. CV-19-40-M-DLC
 6             Plaintiff,                 )
                                          )
 7     vs.                                )
                                          )
 8     THE CENTER FOR ASBESTOS            )
       RELATED DISEASE, INC.,             )
 9                                        )
               Defendant.                 )
10                                        )

11

12

13
             REMOTE VIDEO RECORDED PERPETUATION DEPOSITION
14
                                    OF
15
                         CRISTOPHER MEYER M.D.
16
                  (Taken on behalf of the Plaintiff.)
17

18

19

20

21

22                      Taken Remotely Via Zoom
              Wednesday, August 17, 2022 - 8:00 a.m. CDT
23

24
             Reported by Beth Gilman, RPR and Notary Public
25            for the State of Montana, County of Flathead


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                                                                     Exhibit 70-1
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                         REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                                  5                                                                              7
 1                THE VIDEOGRAPHER: This is an audiovisual                   1   has been certified by NIOSH in the application of a
 2    deposition taken in accordance with the Federal Rules                  2   scoring system that originated in the screening for
 3    of Civil Procedure. The recording equipment is being                   3   coal workers' pneumoconiosis, but after that became a
 4    operated by Rona Chenoweth, whose principal place of                   4   more general scoring system for pneumoconiosis
 5    business is Jeffries Court Reporting which is located                  5   overall.
 6    at 1015 Mount Avenue in Missoula, Montana.                             6            Q.    In terms of the training that you received
 7                Today is Wednesday, August 17th, 2022. The                 7   to be a B-reader, what is your -- what is your
 8    timed is 7:01 a.m. Mountain Time. The deposition is                    8   background professionally as a B-reader?
 9    being taken remotely via Zoom videoconference.                         9            A.    Well, as I stated, all B-readers are
10                The caption of the case is BNSF versus The                10   physicians. It is not necessary for a B-reader to be
11    Center for Asbestos Related Disease, Inc., Civil                      11   a radiologist, although my background personally is
12    Action Number CV-19-40-M-DLC.                                         12   that I'm a radiologist, and specifically an academic
13                Will counsel and everyone present please                  13   radiologist who practices in the area of thoracic
14    introduce themselves starting with the noticing                       14   imaging, so the chest, which is really what
15    attorney?                                                             15   B-reading's all about.
16                MR. DUERK: Adam Duerk for Relator, BNSF.                  16                  The original form of this examination was
17                MR. BECHTOLD: I'm Tim Bechtold on behalf of               17   designed back in -- gosh, it was the early '70s. I
18    CARD.                                                                 18   was not a B-reader then. I was still in high school
19                MS. KVITRUD: Tricia Kvitrud on behalf of                  19   then, but it was -- it was designed back in the '70s
20    Dr. Cris Meyer.                                                       20   by a group of primarily radiologists, and I don't
21                THE VIDEOGRAPHER: The name of the witness                 21   remember whether there were occupational lung
22    is Cristopher Meyer, M.D. Per agreement of counsel                    22   physicians involved too. And it was essentially a
23    the oath will now be administered by the notary                       23   scoring system to classify findings on radiographs
24    remotely.                                                             24   because of -- because of a resurgence of coal workers'
25                CRISTOPHER MEYER, M.D., after having                      25   pneumoconiosis back then that led to the Coal Mine
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                                                                  6                                                                              8
 1    been duly sworn, was examined and testified as                         1   Health and Safety Act.
 2    follows:                                                               2                  The training that was provided with the
 3                                                                           3   original examination was a syllabus that NIOSH would
 4                   EXAMINATION                                             4   send along with a whole case of radiographs, and you
 5    BY MR. DUERK:                                                          5   would do these practice examinations and practice
 6          Q.    Good morning, Doctor. I'm Adam Duerk. Will                 6   radiographs, and there were over a hundred of them,
 7    you please state your full legal name for the record?                  7   and you would practice them basically until -- or, at
 8          A.    Cristopher Andrew Meyer.                                   8   least I would practice them until I had them
 9          Q.    Dr. Meyer, have you had your deposition                    9   completely memorized.
10    taken in the past?                                                    10                  And then you'd go into either a testing
11          A.    Yes, I have.                                              11   station after a weekend course, or go straight to
12          Q.    Okay. I'll dispense with the lengthy list                 12   Morgantown and take the examination, and at that time
13    of ground rules, but suffice it to say if I ask a                     13   the qualifying examination was I think classifying 120
14    question that isn't clear, would you please stop me                   14   radiographs and receiving a passing score, and that
15    and ask me to rephrase that question?                                 15   took about a six to eight -- I think it was over a
16          A.    Sure. I will, yes.                                        16   six-hour time period.
17          Q.    Thank you, Doctor. And at any time if you                 17                  And then every four years after that there
18    need a break or you'd like to confer with counsel,                    18   was a certifying -- a recertifying requirement that
19    just please indicate that to me and we'll take a short                19   was a -- 50 radiograph examinations, similar to the
20    break; okay?                                                          20   prior, that was over a four-hour time period and,
21          A.    Yes.                                                      21   again, required a specific passing score to -- to
22          Q.    Doctor, you've been called today because                  22   be -- to remain certified as a B-reader.
23    you're a B-reader. Could you please tell me what a                    23            Q.    Doctor, how long have you been certified as
24    B-reader is?                                                          24   a B-reader?
25          A.    Certainly. A B-reader is a physician who                  25            A.    Since 1999.
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                                                                                                                                     Exhibit 70-2
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                         REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                                  9                                                                             11
 1        Q.     And in terms of the number of B-readers                    1    five-day-a-week practice and over a 30-year career,
 2   worldwide, is it fair to say that there are only a few                 2    so --
 3   hundred B-readers currently today?                                     3            Q.    All right. So fair to say that on average,
 4        A.     Yeah. That's actually very fair to say.                    4    and pardon my math, Doctor, but if we assume that one
 5   At the height of the B-reading program at the end of                   5    works approximately 50 weeks a year reading 50 CTs and
 6   the -- I guess the last century, they had peaked at                    6    a few hundred chest x-rays in a given year, you might
 7   around 700 B-readers nationally and internationally, I                 7    read approximately 2,500 CTs and quite a few more
 8   guess. Most of the B-readers are U.S. physicians.                      8    chest x-rays --
 9               And there was actually concern by NIOSH                    9            A.    Yes.
10   because B-readers as a -- as a certification, fewer                   10            Q.    -- each year. All right. Sir, I understand
11   and fewer people were getting B-reader certification                  11    that you specialize in thoracic radiology. Could you
12   to the point where I think the program had decreased                  12    describe what that means?
13   170 B-readers in total, and so the NIOSH actually                     13            A.    Certainly. Thoracic radiologists --
14   enlisted the ACR in trying to train new B-readers, and                14    radiology as a specialty has become so diverse that in
15   I was involved in that entire process. I was actually                 15    academic centers radiologists oftentimes pick specific
16   part of the ACR pneumoconiosis task force to first                    16    areas of specialty. And so you've heard of
17   redesign the syllabus and resign the test so that it                  17    neuroradiologists, probably, and they're interested in
18   reflected current -- current conditions. The old                      18    the brain. A thoracic radiologist essentially studies
19   examination was all a film examination, and the                       19    processes that go from where the neck meets the chest,
20   current examination is entirely digital.                              20    so from the top of the -- from over the chest down to
21               And then I'm one of the co-directors of the               21    the diaphragm. That's my area of interest, and that
22   B-reading course for the American College of Radiology                22    primarily involves the heart, the coverings around the
23   to train new B-readers.                                               23    lung, and the lungs themselves in the chest wall. And
24        Q.     Doctor, in terms of your experience as a                  24    that is a -- that's what a thoracic imager does. And
25   radiologist, I'm assuming that you have a robust                      25    primarily as a thoracic imager, chest radiographs and
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                                                                 10                                                                             12
 1   practice outside of your responsibilities as a                         1    chest CTs are the principal tools of our trade.
 2   B-reader. What is it that you do in your professional                  2            Q.    Sir, how long have you specialized in
 3   practice?                                                              3    thoracic radiology?
 4        A.     Sure. So I'm an academic radiologist. That                 4            A.    I actually started my career as a thoracic
 5   means that I spend time teaching medical students,                     5    imager back when I was in the military, so that would
 6   teaching residents, and teaching folks that are sort                   6    have been -- 1992 was my -- my beginning as the chief
 7   of post residency. I also am a clinical radiologist,                   7    of thoracic imaging at Madigan Army Medical Center.
 8   so I spend several days a week reading chest x-rays                    8            Q.    All right. Sir, just a few other pieces of
 9   and chest CTs, in addition to some administrative and                  9    background information. "Pneumoconiosis", if you
10   research responsibilities.                                            10    could provide a definition or a description of the
11        Q.     Now, in terms of your experience as a                     11    conditions or diseases that are part of that term,
12   radiologist, if you could give us an idea of how many                 12    that would be helpful.
13   radiographic studies, how many films, you read on a                   13            A.    Sure. Well, that's actually a complex
14   regular basis. It may be difficult for you to even                    14    question that sort of depends on whether you're a
15   estimate this number, but could you estimate for me                   15    lawyer or a doctor. So I'll -- I'll give you the
16   how many films you've reviewed during the balance of                  16    doctor's answer to that, which is clinical
17   your entire career?                                                   17    pneumoconiosis. Clinical pneumoconiosis is the
18        A.     Oh, my. Yeah. That may be impossible,                     18    manifestation or the pathology that results from being
19   especially -- I -- it's probably easier for me to give                19    exposed to -- to dusts, typically in the workplace.
20   you a sense of what I'm doing currently on a weekly                   20    And the -- the major types of pneumoconiosis that we
21   basis. Typically somewhere between 50 and 70 CTs, and                 21    talk about are actually coal dust, silica dust, and
22   over a couple hundred chest x-rays per week. You can                  22    asbestos. And so pneumoconiosis is when an individual
23   sort of do the math over a -- and that is actually --                 23    is exposed to those -- to perhaps one of those dusts.
24   I'm currently part time, so I only read a couple days                 24    And now there are many other occupational exposures
25   a week. You can imagine when that was a                               25    that sort of fall under the general rubric of
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                                                                                                                                     Exhibit 70-3
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                        REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                                  13                                                                           15
 1    occupational lung disease, but pneumoconiosis was                       1   Libby, and I -- and that was coordinated through the
 2    really more related to those hard mineral dust                          2   CARD Clinic, gosh -- I don't even -- I don't remember
 3    exposures.                                                              3   when we went out to do that. Several decades ago.
 4          Q.   Doctor, in terms of your career, how long                    4   And I worked with Ted Larson from the ATSDR, and that
 5    have you been reviewing chest x-rays and CT scans of                    5   was actually -- resulted in some papers discussing
 6    pneumoconioses?                                                         6   the dose response relationship of the pleural disease
 7          A.   So, again, that question is -- as a thoracic                 7   to -- to those -- the specific asbestos fibers from
 8    imager, so from the day I became a thoracic imager, I                   8   Libby, Montana. So that would predate the contract
 9    have been looking at chest radiographs, and so some of                  9   that was executed with the University of Wisconsin for
10    those chest radiographs would have manifestations of                   10   the work that we did currently, if that makes sense.
11    pneumoconiosis.                                                        11            Q.    It does. Doctor, I've got some e-mails that
12               With regard to having a concentrated area of                12   might help anchor our discussion in terms of when a
13    specialty in occupational lung disease, it certainly                   13   contract was finalized between you and the CARD Clinic
14    became a larger component of my practice, obviously                    14   in terms of serving as a B-reader.
15    once I passed the B-reader exam in 1999 to present.                    15            A.    Okay.
16          Q.   Understood. I'd like to speak about                         16            Q.    Do you happen to have what's been tabbed as
17    B-reading in particular. There has been some                           17   Exhibit 8 in front of you? And we will redesignate
18    discussion, and many depositions, about the topic of                   18   these numbers as we go along.
19    B-reading in this case so far, so I'd like to just                     19            A.    I do not. I -- I'm sorry. I've got you on
20    make sure that I have some facts established.                          20   the Zoom call, which is -- I have not -- I did not
21               When a radiologist B-reader is looking at                   21   print up all those documents so I don't have it in
22    chest x-rays and CT scans as a B-reader, not as a                      22   front of me, and unfortunately to get to it through my
23    treating physician, does a B-reader diagnose anything?                 23   computer would require going out of the Zoom call to
24          A.   So I guess I ought to probably clarify one                  24   get to it, so --
25    thing there, and that is, the B-reader program is, so                  25            Q.    No problem, Doctor. What we can do is go
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                                                                  14                                                                           16
 1    far, specifically devoted to chest radiographs. That                    1   about it this way. At some point in 2011 were you
 2    classification form is only -- only applies to chest                    2   invited by Dr. Black and CARD to serve as a B-reader
 3    x-rays.                                                                 3   for reviewing CTs and chest x-rays for CARD patients?
 4               There is a proposed classification form for                  4            A.    Yes. I remember seeing that e-mail, and I
 5    CT scans that has gotten some international attention,                  5   reviewed it in the exhibit, and that looked correct,
 6    but -- but to date that has not been -- it's not been                   6   yes.
 7    formalized by the -- by NIOSH or by the B-reading                       7            Q.    All right. And what was the nature of the
 8    program. So there is -- there is a form that very                       8   contract that you and CARD were exploring at that
 9    closely parallels the B-reading form for CT, but                        9   time?
10    that's not something that we teach in the B-reading                    10            A.    So I think -- this gets back to your
11    course because it's not part of that certification                     11   original question about B-reading, and that really is
12    process.                                                               12   that B-read-- B-reading is a classification system of
13               And, I'm sorry, can you repeat the question?                13   findings on a chest radiograph. The -- the nature of
14          Q.   Sure. My question was whether B-readers                     14   the contract that CARD had with the University of
15    diagnose, but I think a little bit more background                     15   Wisconsin and me as a B-reader was to receive
16    information might be helpful first.                                    16   anonymized chest radiographs, so no patient
17               In terms of the services that you performed                 17   information, no history, and to go through and
18    in relation to the CARD Clinic's patient CTs and chest                 18   objectively, but blind to any background information,
19    x-rays, when did you first begin to work with CARD or                  19   provide a B-reading service. And that is going
20    for CARD on a contract basis?                                          20   through and -- and I don't know if you have one of the
21          A.   Okay. So that -- that actually is a little                  21   B-reading forms to enter an exhibit, but it's checking
22    complicated as well, in that I was asked earlier by                    22   a whole bunch of boxes --
23    the ATSDR, or enrolled in a research project by the                    23            Q.    Yes.
24    ATSDR and by Dr. Lockey from the University of                         24            A.    -- or a few boxes, depending upon whether
25    Cincinnati, to look at pleural disease in cases in                     25   there's something there or not, to indicate various
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                         REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                                 17                                                                           19
 1   components that are considered in pneumoconiosis; that                  1   In my clinical practice, actually, name and age and
 2   is, lung findings, pleural findings, and there are a                    2   B-reading classifications is not blinded, so --
 3   whole bunch of obligatory symbols, many of which are                    3            Q.    Right.
 4   unrelated to pneumoconiosis that we check off.                          4            A.    It certainly doesn't give us a ton of
 5         Q.   In terms of the information that you would                   5   information, but even that information was absent on
 6   have about each CARD patient before checking boxes on                   6   these examinations.
 7   the B-reader form, aside from the films themselves,                     7                  Typically B-readers do not -- I should say
 8   the chest x-rays, or the CT scan films, what would you                  8   radiology B-readers typically do not get history prior
 9   know about that individual patient?                                     9   to classifying an examination. There are some
10         A.   So the contract was written such that we                    10   occupational lung physicians and pulmonologists that
11   would receive anonymized -- anonymized imaging. So                     11   believe that's critical, but actually I believe the --
12   really what would happen is, a whole bunch of CDs with                 12   on the B-reading Website they encourage the
13   numbers on them would show up, and a list of numbers                   13   interpretation of examinations without the history.
14   that indicated whether they were chest x-rays or CT                    14            Q.    Right. And in terms of the intent behind
15   scans, and that is the sum total of what we knew about                 15   reading blindly, if you could share with us the -- the
16   the patient other than the imaging.                                    16   intent and purpose for reading CTs and -- or, sorry --
17              And that honestly sort of jibes with what                   17   chest x-rays blindly as a B-reader.
18   the B-reading program encourages for screeners that                    18            A.    So the intent is that the classification be
19   are B-readers is that they do not want our objectivity                 19   purely applied to the -- to the imaging and, again,
20   to be lost by having any background information. The                   20   not be sort of led one way or the other by a history
21   concept is that you're just classifying the findings                   21   of years of exposure or days of exposure. The whole
22   on the examination; you're not making a diagnosis, per                 22   purpose is to just get at the chest radiograph as a
23   se.                                                                    23   data point.
24         Q.   All right. So with these CARD patients, let                 24            Q.    And why was that program designed in that
25   me just run through a quick set of questions to make                   25   manner, if you know, Doctor?
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                                                                 18                                                                           20
 1   sure that we're on the same page.                                       1            A.    I -- I don't. I don't know. Actually, I
 2         A.   Sure.                                                        2   should say I -- it was designed originally as an
 3         Q.   You wouldn't have the patient's name;                        3   epidemiologic program, not as a medical/legal program,
 4   correct?                                                                4   not as a -- not as a diagnostic program, per se. The
 5         A.   No, we did not have the patient's name.                      5   whole purpose of the B-reading program with coal
 6         Q.   You wouldn't have the patient's age;                         6   workers was to actually collect data on the population
 7   correct?                                                                7   of patients, and so it was primarily designed by
 8         A.   Correct.                                                     8   epidemiologists and has kind of morphed over the
 9         Q.   You wouldn't have their height, weight,                      9   years.
10   medical history, work history, or exposure history;                    10            Q.    All right. In terms of the information that
11   correct?                                                               11   you received about CARD patients and the data that you
12         A.   Correct.                                                    12   considered prior to your interpretation of those chest
13         Q.   Okay. So essentially when you say you were                  13   x-rays and CTs, is there any other information about
14   reading blindly, that is part of the design in the                     14   those individual patients that you have at your
15   B-readers' program so that you wouldn't know any                       15   disposal that we haven't covered?
16   details about that patient as an individual or in                      16            A.    No.
17   terms of their medical history. Is that fair?                          17            Q.    Okay. In terms of the work that you would
18         A.   So --                                                       18   do then related to these CARD B-reader patients, my
19              MR. BECHTOLD: Leading.                                      19   understanding is you have a film, you'd have the
20   BY MR. DUERK:                                                          20   B-reader form, and you'd have essentially a FedEx
21         Q.   I believe the objection is leading, and                     21   envelope. Was there anything else that you had in
22   Mr. Bechtold is correct. I'm just trying to orient                     22   front of you when you were reading these films?
23   you, Doctor, so disregard what I'm saying. Go ahead.                   23            A.    I had a pen to fill out the form, and that's
24         A.   So I think what -- what we can say is that                  24   about it, yeah, so that is correct.
25   the imaging that was provided to us was anonymized.                    25            Q.    Okay. And so back to my original question
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                                                                                                                                    Exhibit 70-5
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                        REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                                  21                                                                      23
 1    then. When you were serving as a B-reader within the                1   bilateral pleural plaque --
 2    context of this contract with CARD when you were                    2            Q.   Right.
 3    reading and interpreting images on CT and chest x-ray,              3            A.   -- then my impression, so my diagnosis as a
 4    Doctor, were you offering any clinical diagnoses of                 4   radiologist, would be that those findings were
 5    any of these CARD patients?                                         5   consistent with asbestos-related -- were consistent
 6                 MR. BECHTOLD: Leading.                                 6   with asbestos exposure.
 7    BY MR. DUERK:                                                       7            Q.   Right. But in terms of the final diagnosis
 8            Q.   Doctor, I'll go ahead and respond to the               8   of asbestosis or the final diagnosis of
 9    objection this way.                                                 9   asbestos-related disease overall, that's not something
10                 There have been some undisputed facts in              10   that you would list on a B-reader interpretation form.
11    this case, and I'll -- I'd like to orient our                      11   You would -- you would say, These -- I see pleural
12    discussion by reading some of these undisputed facts               12   thickening, for example, which is consistent with ARD,
13    and just seeing if you agree with them; okay?                      13   but not -- but you would not diagnose the condition
14            A.   Sure.                                                 14   yourself. Fair?
15            Q.   Undisputed fact 32, CARD providers have               15            A.   That's a fair statement.
16    stated that radiologists do not diagnose for any                   16            Q.   Okay. And, Doctor, what I'm trying to get
17    condition; that is the treating physician's role.                  17   at here, in terms of the different roles between a
18                 Would you agree?                                      18   B-reader and the treating physician who has the
19            A.   I guess I -- I do not diagnose. So as a               19   medical history, the exposure history, has
20    radiologist and a physician, I like to think of myself             20   theoretically performed a face-to-face in-person
21    as a diagnostician. And so there are things on the                 21   examination, between the B-reader and the treating
22    B-reading form like atherosclerotic disease in the                 22   physician, it is the treating physician who renders
23    aorta, or a fractured rib, or a calcified granuloma,               23   the diagnosis; correct?
24    that would be considered a diagnosis, and we indicate              24            A.   Yes. The final diagnosis, yes.
25    those on the form.                                                 25            Q.   Right. Okay. Now, in terms of CARD
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                                                                  22                                                                      24
 1            Q.   Right.                                                 1   patients themselves, in your capacity as a B-reader
 2            A.   So in that respect I'm not sure that that's            2   would you ever fill out any Medicare claim forms
 3    a correct statement.                                                3   listing a diagnosis of asbestos-related disease on
 4                 With regard to the sum total of a patient              4   those forms?
 5    for pneumoconiosis, the B-reading is considered to be               5            A.   No.
 6    a component of the diagnosis and not typically the                  6            Q.   And if you know, why not?
 7    entire diagnosis.                                                   7            A.   Actually, as a radiologist I don't know that
 8            Q.   All right. So in terms of interpreting                 8   I've ever filled out a Medicare claim form personally.
 9    x-rays or CT scans, is it fair to say that you would                9   I'm sure that our coding and billing office
10    interpret signs visible on a scan that could be                    10   occasionally does that, but as a -- as a radiologist
11    consistent or inconsistent with pneumoconiosis?                    11   we -- we just -- that's just not part of our daily
12            A.   Yes, that is fair.                                    12   routine. So I did not -- do not do it in my clinical
13            Q.   All right. And so undisputed fact 33, would           13   practice, and did not see any of those forms for CARD.
14    you agree with this statement? Radiologists, or I'll               14            Q.   All right. So in terms of your practice as
15    apply this to B-readers, do not diagnose. They                     15   a B-reader, would it ever be part of your
16    observe conditions consistent with a health problem.               16   responsibility to fill out a Medicare claim form
17    Fair?                                                              17   listing a diagnosis of an asbestos-related disease in
18            A.   Yes, that's fair.                                     18   order to determine whether or not that patient
19            Q.   When a radiologist, or B-reading radiologist          19   received Medicare benefits?
20    in particular, is looking at a film, they are not                  20            A.   No. The B-reader program is designed to
21    actually diagnosing asbestos-related disease. Fair?                21   train individuals to do that specific task, which is
22            A.   So there are certain findings on a -- a               22   to fill out the B-reading form. That -- that
23    chest x-ray and a chest CT that actually are                       23   B-reading form is essentially one data point that goes
24    considered to be pathognomonic of asbestos exposure.               24   into the total sort of sum of the patient's clinical
25    So as an example, as a radiologist, if I were to see               25   presentation, and it is the treating physician's
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                                                                                                                                Exhibit 70-6
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                         REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                             25                                                                          27
 1   responsibility to -- to fill out the Medicare form.                 1   interpretation on those B-reader forms?
 2   We do not discuss Medicare forms at the B-reading                   2            A.   Yes, it does.
 3   training program.                                                   3            Q.   Okay. So, Doctor, at no point did anyone at
 4        Q.     So in terms of this division of                         4   CARD explain to you that they were considering your
 5   responsibility between the B-reader and the treating                5   B-reader interpretations as a stand-alone diagnosis.
 6   physician, or the diagnosing physician, is it fair to               6   Fair?
 7   say that the treating physician could review the                    7            A.   Not that I recall.
 8   interpretation of x-rays and CTs performed by the                   8            Q.   All right. Have you ever considered your
 9   B-reader as one of the data points in forming the                   9   interpretations as a B-reader as a stand-alone
10   diagnosis of asbestos-related disease for that                     10   diagnosis in terms of patient care?
11   individual patient?                                                11            A.   No. I -- no.
12        A.     Yes, that's fair.                                      12            Q.   Is there more to that analysis that my
13               MR. BECHTOLD: Leading.                                 13   question failed to address?
14   BY MR. DUERK:                                                      14            A.   I think it gets back to your previous point,
15        Q.     Doctor, do you recall ever having any                  15   which is, obviously as a radiologist we issue an
16   discussions with CARD, anyone employed by CARD or                  16   interpretive report and try to be as specific and as
17   Dr. Black, about the possibility that you would                    17   diagnostic as we can. So we make a radiology
18   diagnose CARD patients with asbestos-related disease?              18   diagnosis, and that diagnosis goes back to the -- the
19        A.     No, I do not.                                          19   treating physician, and the treating physician then
20        Q.     And how would you respond to that general              20   rolls that all up into their -- into their final
21   proposition that you would be the one diagnosing CARD              21   diagnosis.
22   patients with asbestos-related diseases?                           22                 So, again, it's more a matter of pride that
23        A.     Essentially that's not in my lane. I'm --              23   we, you know, like to think that we know what we're
24   as a radiologist, I look at radiographs and CT scans,              24   looking at, do our best to make that interpretation as
25   but would not be comfortable clinically diagnosing                 25   accurate as possible.
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                                                             26                                                                          28
 1   patients.                                                1                       Q.   Right. But in terms of the mechanics of
 2              I think it is important to realize that       2              actually making the clinical diagnosis in the
 3   there are radiology findings that are highly             3              B-reading context, providing a clinical diagnosis for
 4   suggestive, if not virtually pathognomonic, of some of   4              any patient was not something that you ever intended
 5   these diseases, and so in that respect we may make a     5              to do or did do with CARD patients; correct?
 6   radiology diagnosis but not a clinical diagnosis.        6                       A.   That's accurate, yes.
 7         Q.   All right. And in terms of the -- the         7                       Q.   Okay. Doctor, in terms of the statement of
 8   different terminology related to what B-readers see      8              B-reader ethics, I'll -- I'll represent to you that
 9   and report, the language that I've seen is that          9              I've reviewed the NIOSH Website, or the CDC Website,
10   B-readers and some radiologists make an interpretation  10              about ethical considerations for B-readers. I've also
11   of a chest x-ray or a CT scan and share that            11              looked at the Wikipedia page related to B-readers, and
12   interpretation or interpretive report with the          12              even the Wikipedia page on B-readers discusses ethical
13   diagnosing physician. Is that language that you've      13              considerations for B-readers.
14   also seen or used in the past?                          14                            I'll represent to you that ethical code
15         A.   Yes, that's perfect. That's a perfect        15              number 3, both on the CDC, NIOSH B-reader page, and
16   description.                                            16              the Wikipedia page, offers a statement about whether
17         Q.   All right. And so as we go forward here,     17              or not B-readers diagnose. I'd like to read it to
18   you'll hear that word from me, "interpretation", or an  18              you, and just tell me if you agree with this statement
19   "interpretive report", and if I conflate                19              or not; okay?
20   "interpretation" with "diagnosis", please understand    20                       A.   Sure.
21   that I'm trying to maintain those clear lanes.          21                       Q.   So from the NIOSH Code of Ethics for
22         A.   Sure.                                        22              B-readers, B-readers shall recognize the limitations
23         Q.   Would that adequately and accurately reflect 23              of chest radiograph classifications and shall not make
24   your view on what you would do with CARD patients in    24              clinical diagnoses about the pneumoconioses based on
25   terms of reading their scans and rendering a B-reader   25              chest radiograph classification alone.
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                                                                                                                              Exhibit 70-7
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                         REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                                  29                                                                            31
 1                 Would you agree?                                           1   you yourself, aside from being paid for the work that
 2          A.     Yep. Yes.                                                  2   you do performing these reads, have no financial tie
 3          Q.     All right. And is that essentially the                     3   to The Center for Asbestos-Related Disease, or CARD,
 4    standard that you follow as a B-reader in your                          4   in any way?
 5    practice?                                                               5            A.    I would actually correct that statement
 6          A.     Yes, it is.                                                6   because, in fact, I don't personally get paid even for
 7          Q.     And in terms of your contract with CARD, was               7   those B-reads that --
 8    that also the ethical consideration that guided your                    8            Q.    Right.
 9    performance in reading those CARD radiographs?                          9            A.    The money that flows to -- from those
10          A.     Yes, it was.                                              10   B-reads comes to the University of Wisconsin, and
11          Q.     Doctor, I'd like to talk a little more                    11   although I'm sure my -- the chairman of my department
12    generally about some of the reasons for B-reading in                   12   is happy that I'm generating income, it is not
13    the blind and some of the ethical considerations for                   13   directly reflected through to my personal income,
14    B-readers.                                                             14   so --
15                 Based on your training and experience as a                15            Q.    Right.
16    B-reader, were you ever confronted with any material                   16            A.    I guess I would say I receive no personal
17    or did you have any discussions about the effort to                    17   remuneration from these B-reads and have no other
18    remove any bias from B-readers' interpretations?                       18   monetary ties to the CARD Clinic.
19          A.     Yes, and there is certainly case history, if              19            Q.    Okay. I'd just like to run through a series
20    you will, of instances where that bias has been                        20   of questions, and tell me whether the statements are
21    introduced. So part of the ACR training program                        21   correct or not.
22    involves a discussion of ethics, and there are past                    22                  You do not now nor have you ever had any
23    instances where B-readers have allowed -- have                         23   financial ties to The Center for Asbestos Related
24    accepted contracts where they were paid differentially                 24   Disease. Fair?
25    based on how they read an examination, and I -- I --                   25            A.    Fair.
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                                                                  30                                                                            32
 1    and that was then demonstrated to significantly alter    1                           Q.    You do not now nor have you ever had any
 2    the likelihood presumably of that individual to read     2                  ties to any litigated cases involving CARD patients
 3    an examination as positive, if that was being paid       3                  that you're aware of; correct?
 4    higher. And there have been since then other             4                           A.    That I'm aware of, yeah.
 5    individuals that you could say the exact opposite        5                           Q.    Right.
 6    about. So there are instances historically of loss of    6                           A.    I obviously function as a B-reader, so I
 7    objectivity based on incen-- other incentives.           7                  don't know what's been introduced, if I've filled out
 8               And so we certainly -- what I would say with  8                  a B-reading form for someone.
 9    this -- when I perform B-readings, the payment for       9                           Q.    Right. Well, maybe I'll ask the question
10    those B-readings is the same regardless of the boxes    10                  this way.
11    that I check. They are -- and that in combination       11                                 Fair to say that you've never testified on
12    with a lack of any of the background history -- you     12                  behalf of a CARD patient in a personal injury claim?
13    know, there's a tendency for people to be empathic      13                           A.    That is -- that is correct.
14    about -- if you're sitting across from a patient you    14                           Q.    Okay. And in terms of having any -- any
15    may have empathy for that person; you understand their 15                   type of relationship with plaintiffs' lawyers in
16    history. All of that we're blinded to so that the       16                  Montana, you have never received any monies from any
17    purpose is to be as objective as possible.              17                  plaintiffs' attorneys or group of plaintiffs'
18          Q.   Is it fair to say that part of the purpose   18                  attorneys to fund any part of your professional
19    of the B-reader program, and part of the purpose of     19                  practice in Wisconsin related at all to the CARD
20    bringing in a B-reader, is to attempt to remove bias    20                  Clinic.
21    and subjectivity from the equation in performing these  21                           A.    That is a true statement, yes.
22    reads?                                                  22                           Q.    All right. Okay. Doctor, in terms of the
23          A.   Yes, that's fair.                            23                  work that you do outside of your work as a B-reader,
24          Q.   And, Dr. Meyer, consistent with those        24                  are you based primarily in Wisconsin?
25    objectives and that purpose, is it fair to say that     25                           A.    I'm based exclusively in Wisconsin, so, yes.
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                                                                                                                                      Exhibit 70-8
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                       REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                                  85                                                                           87
 1                THE WITNESS: Okay. So I would say, again,                   1   the B-read form on the -- on the appropriate line.
 2    that I'm -- I don't practice clinically with these                      2            Q.    All right. In terms of an interpretation of
 3    patients. I know what the textbook answer is. So                        3   asbestosis, is asbestosis a box that could be checked
 4    pleural disease, pleural plaque, rarely even, if ever,                  4   or filled out on a B-reader interpretation form?
 5    results in any measurable change in pulmonary                           5            A.    No, it is not.
 6    function, and should not result in pain. Diffuse                        6            Q.    Okay. Are there any parts of a B-read
 7    pleural thickening causes restrictive findings and                      7   interpretation form that could be checked that might
 8    should not cause pain. But in that, you know, sort of                   8   indicate signs consistent with asbestosis?
 9    the broad rubric of asbestos-related disease in the                     9            A.    So -- so the answer is yes. The -- the
10    pleura, the one that may result in the need for                        10   section number 2, which asks if there are any
11    narcotics is mesothelioma, the cancer associated with                  11   classifiable parenchymal abnormalities -- or, I think
12    asbestos exposure. But outside that neoplasm, I'm not                  12   back in 2013 the actual question was a little
13    aware of the need for opiates.                                         13   different; it was, Are there any findings consistent
14    BY MR. DUERK:                                                          14   with pneumoconiosis? NIOSH has changed the form a
15          Q.    Right. Doctor, I'd like to turn now to tab                 15   bit. And the definition that -- sort of a
16    6, what's been marked previously as Exhibit 46.                        16   radiologist's definition of "asbestosis" is the
17                Doctor, do you have tab 6 in front of you?                 17   finding of fibrosis, but it presumes that the
18          A.    Yes. It's up on the screen.                                18   individual has the appropriate exposure history. And
19          Q.    Okay. Page 1 of Exhibit 46 I'll represent                  19   the other time that a radiologist would feel fairly
20    to you is an Environmental Health Hazards Checklist                    20   confident in at least suggesting the diagnosis of
21    form. Is this a form that you've seen in your                          21   asbestosis is in the presence of pleural plaque, which
22    practice in the past?                                                  22   indicates asbestos exposure with underlying pulmonary
23          A.    Only when you sent these -- so, no. No.                    23   fibrosis. But pulmonary fibrosis is an absolute
24          Q.    Okay. And I'm assuming that I already know                 24   mandatory finding to call asbestosis, and that should
25    the answers to the following questions, but you've                     25   show up in section 2, the parenchymal section on the
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                                                                  86                                                                           88
 1    never checked any boxes on an EHH form yourself;                        1   B-reading form.
 2    correct?                                                                2            Q.    All right. So if we could turn to page 12
 3          A.    That is correct.                                            3   of what's previously been marked as Exhibit 46, I'll
 4          Q.    Okay. In terms of the top of this form,                     4   have a few questions for you about section 2 on this
 5    you've never been asked to check the box next to the                    5   form. Section 2 on this form asks if there are any
 6    diagnosed impairment and print the date of diagnosis                    6   parenchymal abnormalities consistent with
 7    for a single CARD patient; correct?                                     7   pneumoconiosis; correct?
 8          A.    That is correct. I have never seen this                     8            A.    Correct.
 9    form.                                                                   9            Q.    Okay. And this form is checked the -- for
10          Q.    Okay. And if we go down to the bottom of                   10   the "no" box. Is that right?
11    the page, do you see the Date of Diagnosis section                     11            A.    That is correct.
12    here in terms of Exhibit 46, page 1?                                   12            Q.    Okay. So if a patient were to have signs
13          A.    Yes, I do.                                                 13   consistent with asbestosis, would this box be checked
14          Q.    In terms of the Date of Diagnosis, do you                  14   "no"?
15    see a Date of Diagnosis on this individual form of                     15            A.    It should be checked "yes", and then the
16    what appears to be August 20th, 2013?                                  16   subsequent sections, 2B and 2C, are required to be
17          A.    Yes, I do.                                                 17   filled.
18          Q.    Okay. In terms of information reported by                  18            Q.    All right. And are sections 2B and 2C
19    you to the CARD Clinic as a B-reader, have you ever                    19   filled out on this patient's form?
20    reported any information to CARD indicating a date of                  20            A.    No, they are not. The -- since "no" is
21    diagnosis for an asbestos-related disease for any of                   21   checked, the instructions are to proceed to section 3
22    the blinded CARD patient x-rays or CT scans you've                     22   and skip over sections 2B and 2C.
23    reviewed?                                                              23            Q.    Okay. And regardless of what we might find
24          A.    No, I have not. I've just filled out the                   24   in sections 3 or 4 on this form, because boxes 2A, 2B,
25    B-read form and put the date of my interpretation of                   25   and 2C either indicate a "no", or nothing, this B-read
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                                                                                                                                     Exhibit 70-9
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                         REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                                 89                                                                           91
 1   form does not indicate signs consistent with                            1            Q.    Okay. And so in this case, do you -- do you
 2   asbestosis. Is that fair?                                               2   recall whether you saw both the chest x-ray or the CT
 3        A.      That is correct.                                           3   scan for this patient?
 4        Q.      All right. We'll look at the bottom of page                4            A.    I do not. I did not know what the number
 5   12. Do you see your name on the bottom of this --                       5   was, as it's been redacted. So -- so without --
 6   this form?                                                              6   without being able to pull the images up and review
 7        A.      Yes, I do.                                                 7   them, I can't comment on -- any more about that.
 8        Q.      Okay. And is it fair to say that you did a                 8            Q.    All right. In terms of the other boxes on
 9   reading in this patient's case on or about January                      9   this form for diffuse pleural thickening or any other
10   22nd, 2013?                                                            10   abnormalities, or any of the other boxes on this form,
11        A.      It's fair to say I did a reading on January               11   Doctor, what jumps out at you as significant on this
12   22nd, 2013, yes.                                                       12   patient's particular B-read form, if anything?
13        Q.      Okay. Thank you for that clarification.                   13            A.    Honestly, nothing. The obligatory symbols
14                In considering this entire form, would this               14   were actually put in there to make it easier for
15   be a B-reader form for a chest x-ray or a CT scan?                     15   B-readers to look at screening examinations in
16        A.      So the B-reader forms are for chest x-rays,               16   hundreds of patients.
17   so this is for a chest x-ray.                                          17                  So the Xs that are there, one of them
18        Q.      Okay. Are there any places on this form                   18   indicates atherosclerotic calcification in the aorta,
19   related to what's called costophrenic angle                            19   which is common in elderly patients. The next one is
20   obliteration?                                                          20   "cg", which is calcified granuloma, another very
21        A.      Yes, there are. Section 3C is Costophrenic                21   common finding on chest-rays that we oftentimes don't
22   Angle Obliteration as part of the pleural component of                 22   even describe when we're reading chest x-rays, it's so
23   this form.                                                             23   common. And then the last one is "fr" for fractures,
24        Q.      Okay. In terms of the significance of                     24   which is that healed rib fracture.
25   costophrenic angle obliteration, would you expect to                   25            Q.    Okay.
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                                                                 90                                                                           92
 1   see some costophrenic angle issues or obliteration in                   1            A.    And so you can see that based on that, in 4E
 2   a patient that had asbestosis?                                          2   it said, Should the worker be notified because of the
 3        A.      It could be variable. Costophrenic angle                   3   findings in section 4? And I indicated "no" because
 4   obliteration occurs in the setting of what's called                     4   there were no -- there were no significant findings.
 5   diffuse pleural thickening. So more often the pleura                    5   Those were all just incidental findings.
 6   is the most sensitive to asbestos exposure. Most                        6            Q.    Okay. And in terms of the B-reader form
 7   often we see pleural plaque, and pleural plaque are                     7   overall, did you fill out box 4E with a "no" related
 8   reported in I think 60 to 80 percent of patients who                    8   to just the other symbols obligatory noted above
 9   have a decent asbestos exposure. Costophrenic                           9   involving the rib fracture, the calcification, etc.,
10   obliteration is much less common. Diffuse pleural                      10   or did you check the "no" in box 4E because you didn't
11   thickening -- I'm trying to remember the exact                         11   feel that the worker should see a personal physician
12   numbers, but I think it was around 12 to 15 percent,                   12   because of any of the findings in this scan?
13   something like that. So it is not -- it is not an                      13            A.    Yeah. So, actually, that -- the sections 2
14   absolute that costophrenic angle obliteration would                    14   and 3 are dependent on the occupational lung or
15   need to be present to diagnose asbestosis.                             15   pulmonary physician who's seeing the patient. Section
16        Q.      Okay. Do you see any indications on this                  16   4 is really designed to make sure people don't fall
17   form about pleural abnormalities?                                      17   through the cracks.
18        A.      So if we scroll up just a little bit, under               18                  So as you look at some of the other
19   section 3B I did mark the possibility of a                             19   obligatory symbols, there's a symbol for cancer,
20   diaphragmatic pleural abnormality on the left. So it                   20   there's a symbol for emphysema, there's a symbol for a
21   says, Any pleural abnormalities consistent with                        21   pneumothorax. Those are things that we would get
22   pneumoconiosis? I did say "yes", and indicated the                     22   immediately in touch with -- we would get in touch
23   possibility of a diaphragmatic pleural plaque. Again,                  23   with the party that requested the B-reading to make
24   that, you know, would need to be clarified with -- or,                 24   sure that those patients don't fall through the
25   could be clarified with a CT scan.                                     25   cracks. So the "no" is specifically in reference to
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                                                                                                                                 Exhibit 70-10
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                       REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                                93                                                                         95
 1    section 4, not to the remainder of the form.                          1   CT scan other than the B-read form that you would
 2          Q.    All right. Thank you.                                     2   FedEx from Wisconsin to Libby, Montana?
 3                In terms of this form overall, was there                  3            A.   No, there was not.
 4    anything about this patient's chest x-ray that                        4            Q.   In terms of this current patient and any
 5    indicated to you they had signs consistent with                       5   other current patient, by FedEx'ing those B-read
 6    asbestosis?                                                           6   forms, you were not rendering a diagnosis of
 7          A.    No, there was not.                                        7   asbestos-related disease in any of those individual
 8          Q.    All right. In fact, there was nothing that                8   patients' cases yourself; correct?
 9    you reviewed in this patient's scan that could be                     9            A.   That is correct. And as pointed out
10    considered a sign of asbestosis. Fair?                               10   previously, these were all anonymized, so we weren't
11          A.    Nothing on this chest radiograph, no.                    11   even aware of the patients as individuals.
12          Q.    All right. So if we could go back to page 1              12            Q.   Right. And assuming that you were the only
13    here, the box marked Asbestosis on this form, is it                  13   B-reader involved in this one patient's case
14    fair to say that there was not an interpretation by a                14   represented in Exhibit 46, would you say it is true
15    B-reader, you, that was consistent with asbestosis in                15   that this patient, if basing it on your B-reader
16    this particular patient's case?                                      16   interpretation alone, had a diagnosis of asbestosis?
17          A.    It is -- it's fair to say that my B-reading              17            A.   I'm sorry. Could you rephrase that
18    form does not support what's indicated on this -- on                 18   question?
19    the form that you've got up now, the EHH. I -- as we                 19            Q.   Sure. I'll try to make it simpler. Would
20    discussed earlier, I don't know if there were multiple               20   you ever, based on your B-read interpretation of this
21    B-readers involved in reading that individual, but --                21   patient's radiographic scan, tell another care
22    but that -- this form does not conform with my                       22   provider, Yes, this patient has asbestosis?
23    B-reading.                                                           23            A.   No, I would not.
24          Q.    All right. So would it be -- would it be                 24            Q.   Doctor, in terms of the general procedures
25    inaccurate -- would this checked box indicating that                 25   and the relationship between the treating or
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                                                                94                                                                         96
 1    there was a diagnosis of asbestosis be untrue or                      1   diagnosing physician at CARD, and you as the B-reader,
 2    incorrect based on your B-reader interpretation?                      2   fair to say that a diagnosis can be established by a
 3          A.    Yes, it would.                                            3   B-reader's interpretation of a chest x-ray or CT scan,
 4          Q.    Okay. And, Doctor, in your view, would it                 4   but that interpretation by the B-reader alone is not a
 5    be improper to suggest that the B-read performed by                   5   diagnosis? Would you agree?
 6    you in this patient's case would be a proper basis for                6            A.   Yes, I would agree to that.
 7    a diagnosis of asbestos-related disease?                              7            Q.   All right. And just to make sure that I'm
 8          A.    So if my B-reading was the only                           8   clear on this general distinction here, based on the
 9    interpretation, and the indication was, Interpretation                9   American Thoracic Society 2004 guideline, you cannot
10    by a B-reader-qualified physician, that box should not               10   have a diagnosis without an interpretation of a
11    be checked.                                                          11   structural abnormality on a CT or chest x-ray;
12          Q.    All right. And the information here on this              12   correct?
13    form that the patient has a diagnosis of asbestosis --               13            A.   That is my reading of the ATS requirements
14    asbestosis, given the qualifications about you being                 14   as well, yes.
15    the only B-reader, this information is incorrect or                  15            Q.   Okay. Though in --
16    false in that regard; correct?                                       16            A.   Actually, I should clarify.
17          A.    That is true, yes.                                       17            Q.   Sure.
18          Q.    Doctor, in terms of the procedures at CARD               18            A.   So -- so from an imaging standpoint,
19    for diagnosing patients, would any of CARD's staff or                19   obviously pathology trumps imaging, so there are
20    physicians reach out to you before rendering a                       20   occasions when lung biopsies and things are done. So
21    diagnosis for any CARD patients, to the best of your                 21   a structural abnormality is required; usually imaging
22    knowledge?                                                           22   is what's used to define that structural abnormality
23          A.    No, they did not.                                        23   because it's less invasive for the patient.
24          Q.    Were there any communications between you                24            Q.   Right. And pathology or histology, a
25    and CARD about your interpretation of a chest x-ray or               25   microscopic study, is another way of determining a
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                                                                                                                               Exhibit 70-11
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                        REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                           97                                                            99
 1   diagnosis. Fair?                                            1      Q.    A diagnosis of asbestos-related disease is
 2         A.    That's fair.                                    2 based on exposure histories, time since exposure,
 3         Q.    Okay. But you cannot have a diagnosis in        3 medical provider assessment, and radiographic images.
 4   the context of CT reads and chest x-rays without a          4 The reader who identified the abnormality did not have
 5   radiographic interpretation indicating a sign or an         5 the rest of this information.
 6   abnormality consistent with asbestos-related disease.       6            Did I read that correctly?
 7         A.    So with regard to meeting the first             7      A.    Yes, you did.
 8   requirement of the ATS, the chest x-ray or CT scan          8      Q.    Okay. Doctor, in terms of the section that
 9   should be abnormal.                                         9 I just read you about a diagnosis of asbestos-related
10         Q.    All right. Yeah. But the interpretation,       10 disease being based on exposure histories, time since
11   the radiographic interpretation, alone is not a            11 exposure, medical provider assessment, and
12   clinical diagnosis or a diagnosis of asbestos-related      12 radiographic images, did you have any of that type of
13   disease. Fair?                                             13 information in your possession at any time when you
14         A.    Correct. Correct.                              14 read any of these CARD patient x-rays or CT scans for
15         Q.    Doctor, I'd like to turn to Tab 7.             15 B-reader purposes?
16               MR. DUERK: This is a document that we'll       16      A.    I had the radiographic images. That's all.
17   mark as Exhibit 123.                                       17      Q.    All right. And so would you agree with the
18   BY MR. DUERK:                                              18 statement -- and the statement of -- from this letter
19         Q.    Doctor, you may not have ever seen this        19 above, that outside reader interpretations, in your
20   record before, but I would like to address some topics     20 case B-reader interpretations, would not be considered
21   on it.                                                     21 a diagnosis of an asbestos-related disease in this
22               So, first, have you ever seen a letter from    22 context?
23   the CARD Clinic, or this letter from the CARD Clinic,      23      A.    Yes, I would.
24   apparently to a patient about the results of their         24      Q.    Okay. And based on your read of this
25   health screening?                                          25 letter, does it appear to you that the authors of this
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                                                           98                                                                 100
 1         A.    So only in the documents you sent                 1    letter likewise understood that a B-reader
 2   immediately prior to this deposition.                         2    interpretation is not a diagnosis of asbestos-related
 3         Q.    Okay. Doctor, I -- the way I want to              3    disease?
 4   approach this, I'll focus on different sections of            4         A.    That is what it appears to me, yes.
 5   this letter, with the understanding that you haven't          5         Q.    The fourth paragraph here, We are notifying
 6   seen it before. I'm only using this letter as a               6    you of this finding because any type of abnormality
 7   reference point; okay?                                        7    identified by the outside reader, even if it is not a
 8         A.    Sure.                                             8    diagnosis of asbestos-related disease, qualifies you
 9         Q.    All right. So this letter begins, Dear            9    for certain medical benefits. You are now eligible
10   Blank, you participated in asbestos health screening         10    for Medicare benefits regardless of your age based on
11   on December 11th, 2014. And at that time you were not        11    these findings. If you choose to enroll in Medicare,
12   diagnosed with an asbestos-related disease, ARD. You         12    you would also be eligible for the Medicare Pilot
13   received a letter at the conclusion of your                  13    Program for asbestos-related disease that covers
14   appointment that informed you that your chest x-ray          14    medically-necessary services not covered by usual
15   and CT would be sent out for a second read by other          15    medical insurance programs; example, mileage, fitness
16   doctors specially trained in reading radiographic            16    club memberships, assistance with daily living.
17   images for dust diseases, like asbestos.                     17    Information about these programs is enclosed.
18               Did I read that correctly?                       18               Did I read that paragraph correctly?
19         A.    Yes.                                             19         A.    Yes, you did.
20         Q.    Okay. One of these doctors did identify a        20         Q.    In addition, you continue to be eligible for
21   small abnormality on your CT image. It is nothing            21    free ongoing screening for asbestos-related disease
22   that has significant health implications, nor is it          22    through the CARD screening program.
23   considered a diagnosis of an asbestos-related disease.       23               Did I read that section correctly?
24               Did I read that correctly?                       24         A.    Yes, you did.
25         A.    Yes, you did.                                    25         Q.    Doctor, in terms of the Environmental Health
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                                                                                                                 Exhibit 70-12
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                       REMOTE VIDEO RECORDED PERPETUATION DEPOSITION OF CRISTOPHER MEYER, M.D.
                                                            101                                                            103
 1    Hazard Medicare provisions in the Affordable Care Act,      1 review the materials in front of me, I think I may be
 2    have you read any of those provisions or reviewed them      2 able to streamline the rest of my questions and
 3    at any time, to the best of your knowledge?                 3 conclude in a more hasty manner. I'd like to take 10
 4          A.   No, I have not.                                  4 minutes, if that works for everyone here.
 5          Q.   Okay. In terms of the EHH requirements for       5            MS. KVITRUD: It does. Just because we did
 6    Medicare eligibility, is that information that you've       6 block sort of a certain amount of time, and we
 7    studied at all?                                             7 certainly want to be collaborative --
 8          A.   No, it is not.                                   8            MR. DUERK: Trish, can we --
 9          Q.   In terms of information communicated to you      9            MS. KVITRUD: -- I just want to get some
10    by The Center for Asbestos Related Disease, the CARD       10 sense of how -- because Dr. Meyer -- I just want to
11    Clinic, has CARD shared with you any information about     11 make sure and quickly check with Dr. Meyer whether he
12    Medicare eligibility requirements under the EHH            12 has any clinical responsibilities this afternoon
13    program?                                                   13 because we're also ahead of you folks.
14          A.   No, they have not.                              14            MR. DUERK: Oh, that's right. Trish, for my
15          Q.   At any time did CARD disclose to you that       15 part, I think I can wrap up in oftentimes a few
16    they were basing EHH Medicare eligibility requirements     16 minutes.
17    on your B-reads?                                           17            MS. KVITRUD: Oh, okay. I just didn't know
18          A.   No, they did not.                               18 if you were talking another five or ten or 60 minutes.
19          Q.   Using the patient referenced in Exhibit 46      19 I just wanted to understand a little bit.
20    in terms of the EHH form there and your B-read of that     20            MR. DUERK: Yep, I think I'm going to be
21    patient's radiographic scan, did CARD communicate to       21 wrapped up in five minutes.
22    you that any time in any way or in any manner that         22            MS. KVITRUD: Okay. So we'll take a
23    they intended to submit that patient for lifetime          23 10-minute break now then? Is that what you're --
24    Medicare benefits on your B-read alone?                    24            MR. DUERK: If that's works for all of you.
25          A.   No, they did not.                               25 I just want to review my notes and make sure that
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                                                            102                                                               104
 1          Q.   Did CARD at any time in any manner express         1   we're all set to go, and then for my part I think I
 2    to you that they planned to submit over 100 patients          2   will be finished.
 3    for lifetime Medicare benefits on your B-read                 3               MS. KVITRUD: That's just fine with us.
 4    interpretation alone?                                         4   Thank you.
 5          A.   No, they did not.                                  5               MR. DUERK: Yep. All right. Thank you so
 6          Q.   At any time did CARD discuss with you that         6   much.
 7    they planned to submit a patient for lifetime Medicare        7               MR. BECHTOLD: Hold on. Just --
 8    benefits for a patient that CARD knew only had a              8               THE VIDEOGRAPHER: Can I get us off the
 9    fractured rib detected on radiographic scans based on         9   record really quick? Let the record reflect that
10    your B-read alone?                                           10   we're going off the record at 10:08 a.m.
11          A.   No, they did not.                                 11   (Short recess.)
12          Q.   Had you known any of that information,            12               THE VIDEOGRAPHER: Let the record reflect we
13    Doctor, what would your response have been?                  13   are back on the record at 10:28 a.m.
14          A.   I would have objected to it strongly and          14   BY MR. DUERK:
15    would have had a discussion internally with our risk         15         Q.    Dr. Meyer, after a short break I just have a
16    management to understand how to further proceed.             16   few follow-up questions. I'd like to put Exhibit 124
17          Q.   Is this the first time you've ever been           17   in front of you on the screen. This is an image dated
18    confronted with any information about CARD's                 18   8-20-2013.
19    diagnostic practices and Medicare claims submission          19         A.    Okay.
20    practices that touches on any of these topics?               20         Q.    I believe this was just e-mailed to you.
21          A.   Well, the -- the items that you sent me           21   Doctor, do you see what's been marked as Exhibit 124
22    prior to the deposition in the last couple days, this        22   in front of you?
23    is the first I've heard of it, yes.                          23               MR. BECHTOLD: Excuse me a second, counsel.
24          Q.   Thank you, Doctor.                                24   So I understand that you intend to use what I would
25               MR. DUERK: If I could take a few minutes to       25   be -- as a cross examination? I think you're welcome
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